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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                    *              CRIMINAL DOCKET

VERSUS                                      *              NO. 15-289

ANDRE DOMINICK, et al                       *              SECTION: “N”


 MOTION AND INCORPORATED MEMORANDUM TO CONTINUE HEARING ON
     MOTION AND TO EXTEND DEADLINE TO SUPPLEMENT FILINGS
        IN TO REFERENCE MOTION TO DISMISS…..(REF DOC 305)

       NOW COMES the defendant, Lisa Vaccarella, through undersigned counsel, who

respectfully requests that this Honorable Court continue the hearing regarding Ms. Vaccarella’s

Motion to Dismiss, (Ref Doc. 305) and extend the deadline for filing supplemental documents.

Counsel requests that the hearing on this motion and the deadline for filing supplemental

documents currently scheduled for August 30, 2017 be converted to a status hearing and that a

new hearing date be scheduled for September 13, 2017, September 30, 2017 or at the Court’s

convenience.

                                                1.

        Ms. Vaccarella filed a Motion to Dismiss….(Ref Doc 305) based on her assertion that by

the government allowing certain video recordings to be destroyed and others to be retained, this

Court should dismiss this case or in the alternative exclude evidence of any of the video

recordings in this case.
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                                                2.


       As of the filing of this motion, counsel is in a continual request and exchange of

documents with the government directly related to this motion. On July 24, 2017 counsel

informed this Honorable Court that considering her motion and the government’s response to her

motion, she requested certain documents from the government to which they initially complied

on the evening on July 31, 2017. Those documents consisted of 90 pages of text as well as two

attachments, several pages each, which contained logs from the seemingly cursory “forensic

search” of the SBPP “server”. The “new” information provided to us has prompted numerous

emails, phone calls and letters between the government, myself and counsel for Andre Dominick,

where we requested additional information, stemming from the initial disclosure, and the

government’s response to those requests. Correspondence between Mr. Tusa, Mr. Menon and

myself occurred on August 4, 5, 8, 11, 14th and 15th.

       As of this writing, the government as recent as Tuesday, August 22, 1017 disclosed an

additional 51 pages of documents directly related to our motion as well as a disc containing over

300 documents of which counsel has not yet reviewed as to their relevancy to this motion.

Further, AUSA Menon has informed counsel that they are unable to obtain the interoffice emails

and correspondence of the St. Bernard Parish Jail employees. This disclosure has prompted

counsel to request issuance of subpoena duces tecums to 4 employees of the SBPSO as well as

their Information Technology (“IT”) person, Craig Legnon, filed on August 23, 2017.

       Additionally, counsel has also retained the services of Dr. Brian Roux, who is an attorney

as well as holds a B.S. and a M.S. in computer science as well as a PhD. in engineering and

applied science with a concentration in computer science. He has been previously accepted as an

expert in the U.S. District Courts in the Western, Middle and Eastern Districts of Louisiana. He
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has started review of the logs and documents but has yet to begin review of the documents

received Tuesday evening. As of this moment, I do not have a report regarding his findings but

upon information and belief, he would be will be able to provide this Court information that

could potentially contradict witnesses previous statements and grand jury testimony regarding

why the SBPP did not preserve these video recordings as requested by the FBI among other

potential conclusions regarding the present ability to retrieve these recordings.

       Based on the aforementioned reasons, counsel firmly believes the potential forthcoming

documents from the Subpoena Duces Tecums, if their issuance is granted, as well as the further

review of the documents we received Tuesday evening, August 22, 2017, warrants a continuance

of the hearing on the Motions to Dismiss (Ref. Doc. 304, 305) and an extension of the deadline

to supplement filings.

       Finally, Ms. Vaccarella has requested and maintains her position that her Motion to

Dismiss (Ref Doc 305) requires an evidentiary hearing. If the Court is inclined to grant the

current motion, this would permit Ms. Vaccarella to review and potentially produce the

documents recently provided to her Tuesday evening as well as the potential forthcoming

documents and assess which witnesses would be able to assist the Court in making its

determination without burdening this Court with unnecessary testimonial witnesses.

                                                 3.

       Title 18 United States Code, Section 3161(h)(7)(B) sets forth factors to consider when

granting a continuance. One such factor, (B)(iv), is whether denial of a continuance would deny

counsel for the defendant "the reasonable time necessary for effective preparation, taking into

account the exercise of due diligence."
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                                                 4.

       The case against Ms. Vaccarella involves the possibility of her facing any number of

years, including the rest of her life, in jail. Given the weight of the possible penalties versus the

brevity of counsel’s representation, it is undersigned counsel’s position that additional time is

necessary to provide Ms. Vaccarella the representation afforded to her by the Sixth and

Fourteenth Amendments of the United States Constitution and well as the Code of Professional

Conduct.

                                                 5.

       Assistant United States Attorney Chandra Menon has been contacted and does not oppose

converting the motion hearing currently scheduled for August 30, 2017 to a status conference.

He does not oppose extending the deadline for additional filings regarding this motion. If the

Court is inclined to grant this motion, he would like to discuss the date of the hearing at the

potential status conference.

       All of the co-defendant’s counsels have been contacted and none have opposition to this

motion and all would be available for a status conference on August 30, 2017.



                                                 6.

       In review of the above considerations, the granting of this motion would be in the best

interests of justice and would outweigh the interests of the public and the defendant.
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       WHEREFORE, the defendant Lisa Vaccarella respectfully requests that this Honorable

Court continue the hearing on Motion to Dismiss to and extend the deadline for filing

supplemental pleadings. Counsel requests the currently scheduled hearing date of August 30,

2017 be converted to a status conference.


                             Respectfully submitted this 24th day of August, 2017,

                             /s/ Anna L. Friedberg

                             __________________________


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                               CERTIFICATE OF SERVICE

       I hereby certify that on August 24, 2017, I electronically filed the foregoing with the

Clerk of Court by using the CM/ECF system which will send a notice of electronic filing to the

following: Chandra Menon and Tracey Knight, Assistant United States Attorneys, 650 Poydras

Street, New Orleans, Louisiana 70130 and all other counsel of record.



                             /s/ Anna L. Friedberg
                             __________________________
                             Anna L. Friedberg, LA #25055
